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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION


   Wood Mountain Fish LLC, et al.,                      Civil No. 19-22128-CIV-SMITH/LOUIS

                         Plaintiffs,                    DECLARATION OF HEIDI M.
                                                        SILTON IN SUPPORT OF INDIRECT
          v.                                            PURCHASER PLAINTIFFS’ MOTION
                                                        FOR AN AWARD OF ATTORNEYS’
   Mowi ASA (f/k/a Marine Harvest ASA), et al.,         FEES AND REIMBURSEMENT OF
                                                        LITIGATION EXPENSES AND COSTS
                         Defendants.



          I, Heidi M. Silton, declare as follows:

          1.      I am a partner at Lockridge Grindal Nauen, P.L.L.P. (“LGN”) and am Co-Lead

   Counsel for the Indirect Purchaser Plaintiff (“IPP”) Settlement Class, along with Fred T. Isquith,

   Sr., of Zwerling, Schachter & Zwerling, LLP, in the above-captioned action. ECF No. 341. I am

   a member in good standing of the State Bar of Minnesota and have been admitted to this Court

   pro hac vice. ECF No. 15. I am counsel of record for plaintiffs in the above-captioned matter. I

   have personal knowledge of the matters set forth herein and could competently testify thereto.

          2.      I submit this Declaration in support of Indirect Purchaser Plaintiffs’ Motion for an

   Award of Attorneys’ Fees and Reimbursement of Litigation Expenses and Costs.

          3.      In 2020 I, along with my co-lead counsel, Fred T. Isquith, Sr. of Zwerling,

   Schachter & Zwerling, LLP and other attorneys for the IPPs, negotiated with Defendants to

   obtain documents they had previously produced to the European Commission and the U.S.

   Department of Justice. Defendants produced these documents to us, and Class Counsel set up a

   review team to analyze these documents. As part of that effort, we set up a coding manual and
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   reviewed tens of thousands of pages of documents. IPPs amended their complaint with new

   allegations identified, in part, through this review.

          4.      Although this case was not formally consolidated with the Direct Purchaser action

   before Judge Altonaga, In re Farm-Raised Salmon, No. 19-cv-21551 (S.D. Fla.), Class Counsel

   worked with Direct Purchaser Plaintiffs’ (“DPP”) counsel and Defendants to coordinate

   discovery between the two actions to the best of our ability. Beginning in November 2021, IPPs

   joined status conferences set in the DPP case before Magistrate Judge Louis. IPPs also shared

   costs of document review and a document review platform with DPP counsel to reduce expenses.

   IPPs conducted their own review of discovery and documents, working with Norwegian

   document reviewers to translate documents as necessary. Class Counsel reviewed discovery

   identified by document reviewers on an ongoing basis from November 2021 until the parties

   reached a settlement.

          5.      IPPs, jointly with DPPs, deposed 10 of Defendants’ corporate representatives

   under Rule 30(b)(6). After DPPs had reached a settlement with Defendants, IPPs conducted an

   additional deposition of a witness produced by a defendant because the previous representative

   was not adequately prepared. Class Counsel from the firms appointed as interim co-lead counsel

   attended or conducted each of the depositions.

          6.      During discovery, IPPs served 17 subpoenas on third parties that held documents

   and data relevant to the pricing and distribution of Defendants’ salmon in the United States. IPP

   counsel engaged in meet-and-confers with many of these third parties to negotiate the

   appropriate scope and timing of the productions.

          7.      IPP counsel had begun a process of meet-and-confers on discovery requests

   specific to each of the six Defendants’ corporate families. IPPs had analyzed the discovery and




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   identified potential gaps with each defendant and raised the issues with each defendant. IPPs

   were prepared to proceed to motion practice with each defendant if they could not reach

   agreement on the issues raised.

          8.      Class Counsel assisted IPPs with document collection and review to respond to 34

   requests for production served by Defendants. Many of our clients are small businesses,

   including one sole proprietorship, which kept many records on paper. Class Counsel engaged a

   vendor to assist our clients with document collection and our team reviewed over 50,000

   documents. The first set of responsive documents was produced to Defendants on June 22, 2022.

          9.      Attached hereto as Exhibit 1 is a true and correct copy of the curriculum vitae of

   Michael A. Williams, Ph.D., whom IPPs retained as an expert in this case. IPPs consulted with

   Dr. Williams to identify data from Defendants and third parties that would be necessary for IPPs’

   damages model.

          10.     IPPs worked with DPPs to share costs of analyzing and processing the data

   produced by Defendants and third parties, which was required to render the data useful for the

   purposes of analysis by Dr. Williams and for trial. Because DPPs would need to conduct the

   same data processing for their expert to analyze the data, IPPs agreed to share those costs to be

   paid to Alix Partners, the firm retained for the tedious, but painstaking work of processing the

   data. IPPs incurred $663,790 in costs for that work.

          11.     IPPs engaged the Honorable Edward Infante, retired Chief Magistrate Judge for

   the Northern District of California, for mediation. I, along with my co-counsel, Fred Isquith Sr.,

   Fred Isquith Jr., and Adam Zapala, attended an in-person mediation session in Chicago with

   Judge Infante, joined by my colleague Joseph Bourne, and co-counsel, Jeffrey C. Zwerling, by




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   Zoom videoconference. After the initial session, we had numerous follow-up meetings with

   Judge Infante by video conference and by telephone.

           12.     In the course of this litigation, IPP counsel incurred the following costs for the

   benefit of the class:

            Expert fees, including consultation and data                         $670,722.50
            processing
            Foreign language document review, deposition,                        $472,891.51
            and translation services
            Document storage and e-discovery platform                             $28,961.55
            Legal research, copy fees, delivery, service of                       $54,303.85
            process fees, and litigation fund accounting fees
            Document collection                                                   $11,760.00
            Court fees, including CM/ECF and court                                 $5,078.15
            transcript-related fees
            Mediation fees                                                        $18,460.59
            Travel expenses                                                       $15,987.94
            TOTAL                                                              $1,278,166.09


           13.     IPP counsel have retained documentation with greater detail for these expenses

   and can provide that detail to the Court if necessary.

           I declare under penalty of perjury under the laws of the United States that the foregoing is

   true and correct.

           Executed on December 1, 2022.


                                                 s/ Heidi M. Silton
                                                 Heidi M. Silton




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